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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Garland E. Burrell Jr.
United States District Judge
Sacramento, California

                                              RE: Adela Guerrero
                                                  Docket Number: 0972 2:13CR00331-001
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Adela Guerrero is requesting permission to travel to Mexicali, Baja California, Mexico. Adela
Guerrero is current with all supervision obligations, and the probation officer recommends
approval be granted.


It is also respectfully requested that the probation officer be given discretion to approve future
requests for international travel.


Conviction and Sentencing Date: On March 3, 2015, Adela Guerrero was sentenced for the
offense(s) of 21 USC 846 and 841(a)(1) – Conspiracy to Distribute Heroin.


Sentence Imposed: 42 months custody at the Bureau of Prisons; 60 month term of Supervised
Release; Mandatory drug testing; DNA collection; $100 Special Assessment.


Dates and Mode of Travel: March 17 to March 20, 2017. She will be traveling by vehicle.


Purpose: Ms. Guerrero is requesting to visit her parents.




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                                                                                                 REV. 06/2015
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Adela Guerrero
         Docket Number: 0972 2:13CR00331-001
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                   Respectfully submitted,


                                   /s/ George A. Vidales
                                     George A. Vidales
                         Supervising United States Probation Officer


Dated:March 15, 2017
      Sacramento, California
      GAV/sg
                        /s/ Sara E. Gnewikow
 REVIEWED BY:         Jack C. Roberson
                      Deputy Chief United States Probation Officer




                               ORDER OF THE COURT

          ☒    Approved        ☐      Disapproved

 Dated: March 16, 2017




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                                                                                              REV. 06/2015
                                                               TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
